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                      UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


   In re:                                        Chapter 11

   Northwest Capital Holdings LLC,               Bankruptcy No. 20-05334

                       Debtor.                   Honorable Jack B. Schmetterer

                                      NOTICE OF MOTION

     To: See attached list.
       Please take notice that, on February 2, 2021 at 11:00 a.m., I will appear
telephonically before the Honorable Jack B. Schmetterer, or any judge sitting in his
place, and present the Debtor’s Motion for Entry of Order (A) Approving Procedures
for Sale of Westbrook Apartments and (B) Authorizing Sale of Westbrook
Apartments Free and Clear of Liens, Claims and Encumbrances.
      This motion will be presented and heard telephonically using AT&T
Teleconference. No personal appearance in court is necessary or
permitted. To appear and be heard telephonically on the motion, you must
call in to the hearing using the following information—Toll Free Number:
1-877-336-1839; Access Code: 3900709.

     If you object to this motion and want it called on the presentment date above,
you must file a Notice of Objection no later than two (2) business days before that
date. If a Notice of Objection is timely filed, the motion will be called on the
presentment date. If no Notice of Objection is timely filed, the court may grant the
motion in advance without a hearing.

Dated: January 26, 2021                       Northwest Capital Holdings LLC
                                              By: /s/ William J. Factor
                                              One of Its Attorneys
William J. Factor (6205675)
FACTORLAW
105 W. Madison Street, Suite 1500
Chicago, IL 60602
Tel:   (312) 878-0969
Fax: (847) 574-8233
Email: wfactor@wfactorlaw.com




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                                    CERTIFICATE OF SERVICE

      I, William J. Factor, hereby certify that I served a copy of this notice and the

attached motion on each entity shown on the attached list at the address shown and

by the method indicated on the list on January 26, 2021.

                                                   /s/ William J. Factor



                                           SERVICE LIST

Registrants
(Service via ECF)
William J. Factor on behalf of Debtor 1 Northwest Capital Holdings LLC
wfactor@wfactorlaw.com,
wfactorlaw@gmail.com;bharlow@wfactorlaw.com;wfactor@ecf.inforuptcy.com;wfacto
rmyecfmail@gmail.com;factorwr43923@notify.bestcase.com
Brandon R. Freud on behalf of Creditor Midland States Bank
bfreud@chuhak.com, dburns@chuhak.com
Patrick S. Layng
USTPRegion11.ES.ECF@usdoj.gov
Jeffrey K. Paulsen on behalf of Debtor 1 Northwest Capital Holdings LLC
jpaulsen@wfactorlaw.com, bharlow@wfactorlaw.com;jpaulsen@ecf.inforuptcy.com

Other Parties in Interest
(Service via U.S. Mail)
See attached.


David M. Katinsky                                United States Attorney
Chief, CTS-Northern                              Civil Process Clerk
Tax Division (DOJ)                               219 South Dearborn Street, Room 500
P.O. Box 55                                      Chicago, IL 60604
Ben Franklin Station
Washington, DC 20044




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Internal Revenue Service                      Internal Revenue Service
PO Box 7346                                   Mail Stop 5014CHI
Philadelphia, PA 19101                        230 S. Dearborn St., Room 2600
                                              Chicago, IL 60604
Joel Christensen                              City of Springfield
Behr, McCarter & Potter, P.C.                 327 Municipal Center
7777 Bonhomme Avenue, Suite 1400              Springfield, IL 62701
St. Louis (Clayton), MO 63105

City of Springfield                           Ed Streit
800 East Monroe Street                        Manager, Northwest Capital Holdings
Springfield, IL 62701                         40 W. 439 Laura Ingalls Wilder Road
                                              Saint Charles, IL 60175

Jacqueline Streit                             Julie Streit
2508 S.W. 30th Street                         40 W. 439 Laura Ingalls Wilder Road
Cape Coral, FL 33914                          Saint Charles, IL 60175


Attn: Officer or President                    Attn: Officer or President
Cutting Edge Yard Service                     CWLP Utilities
PO Box 44                                     Municipal Center West
Auburn, IL 62615                              300 S. 7th Street
                                              Room 101
                                              Springfield, IL 62757


Pete Kich                                     Karrsten Goettel
Dugan & Lopatka                               2000 McDonald Road, Suite 200
4320 Winfield Road, Suite 450                 South Elgin, IL 60177
Warrenville, IL 60555                         Fax: 847-695-2401

                                              Attn: Officer or President
Attn: Officer of President                    Sherwin Williams
Petri Painting and Construction               3161 Hedley Rd.
806 West Market                               Springfield, IL 62704
Bloomington, IL 61701




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Attn: Officer or President                    Midland States Bank
Republic Services                             100 N. Chicago Street
Acct No: 3-0352-0001218                       Joliet, IL 60432
2980 Granger Drive
Springfield IL 62707-355757

Northwest Services                            Realty Shares 227 LLC
2980 Grainger Drive                           268 Bush Street
Springfield, IL 62707                         Suite 3932
                                              San Francisco, CA 94104
Sangamon County Water Reclamation
District                                      Brandon Freud
3000 North Eighth Street                      Chuhak & Tecson
Springfield, IL 62707                         30 South Wacker Dr., Suite 2600
                                              Chicago, IL 60606
Blair Will
Pioneer Law Group                             Justin Reichert
1122 S. Street                                Stratton, Moran, Giganti, Reichert
Sacramento, CA 95811                          725 South Fourth Street
                                              Springfield, IL 62703

Ed Streit
                                              Manager
Manager, Northwest Capital Holdings
                                              RealtyShares Manager, LLC
40 W. 439 Laura Ingalls Wilder Road
                                              501 2nd Street, 7th Floor
Saint Charles, IL 60175c
                                              San Francisco, CA 94107


Attn: Officer or President
Petri Painting and Construction
314 North Jefferson
Lot 5
Millstadt, Illinois IL 62260




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                      UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


   In re:                                       Chapter 11

   Northwest Capital Holdings LLC,              Bankruptcy No. 20-05334

                      Debtor.                   Honorable Jack B. Schmetterer

      DEBTOR’S MOTION FOR ENTRY OF ORDER (A) APPROVING
  PROCEDURES FOR SALE OF WESTBROOK APARTMENTS AND (B)
AUTHORIZING SALE OF WESTBROOK APARTMENTS FREE AND CLEAR
           OF LIENS, CLAIMS AND ENCUMBRANCES

      Northwest Capital Holdings LLC (the “Debtor’) owns a 220-unit apartment

complex in Springfield, Illinois (i.e., the “Westbrook Apartments”). The Debtor

believes it is appropriate to sell the Westbrook Apartments pursuant to an auction

under § 363 of the Bankruptcy Code and to implement procedures for a competitive

bidding process intended to maximize value for all stakeholders.

      Accordingly, by this motion, the Debtor requests that the Court enter an

order (Exhibit 1) approving the sale procedures (the “Sale Procedures”) set forth

herein and further identified on Exhibit 1 for accepting bids and conducting an

auction for the Westbrook Apartments. This request is made pursuant to §§ 363(b),

(f) and (m) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedures

2002, 6004, 6006, 9007, 9008, and 9014.

                        THE SALE PROCEDURES ORDER

      The salient terms of the Sale Procedures Order are:

             1.    Auction Date. The auction for the Westbrook Properties shall

occur on April 9, 2021 at 11:00 am (Centra Prevailing Time), or on any other date


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Midland Bank and the Debtor select (the “Auction Date”). Absent the consent of

Midland Bank, the auction shall not be rescheduled or cancelled, although the

Debtor shall not be required to conduct the auction if it does not receive more than

one Qualified Bid for the Westbrook Apartments. Midland Bank shall be deemed a

Qualified Bidder (as defined in the Sale Procedure Order) without any further

action and has the right to submit a credit bid prior to the Bid Deadline. If Midland

Bank is the Prevailing Bidder on account of its credit bid, the ultimate sale order

shall be modified accordingly.

             2.     Stalking Horse Protections. If, in consultation with any

advisors that it retains to assist in the sale process, the Debtor deems it advisable to

do so, on or before March 31, 2021, the Debtor has the right to select a Stalking

Horse for the auction and to provide the stalking horse with a break-up fee of

$100,000 and bid protection of $100,000.

             3.     Retention of a Broker. Subject to further approval from the

Court on 7 days’ notice, the Debtor has the right to employ a real estate broker or

other advisors, each acceptable to Midland Bank in the exercise of its reasonable

discretion. The broker and any related service providers will assist in the

marketing and sale of the Westbrook Apartments. Absent Midland Bank’s consent,

the broker will not be entitled to a commission or any other compensation if

Midland is the successful bidder as a result of making a credit bid. The Debtor

shall be able to use up to $10,000 of cash collateral to pay expenses required to

effectively market the Westbrook Apartments.
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             4.     The Final Sale Hearing and Closing. The hearing before

the Court to enter a final sale order shall occur on April 13, 2021, or such later date

as the Debtor and Midland Bank agree, subject to the Court’s schedule.

             5.     Sale Free and Clear. Pursuant to § 363(f) of the Bankruptcy

Code, any final sale order shall authorize the sale of the Westbrook Apartments to

the Prevailing Bidder free and clear of liens, claims and encumbrances.

             6.     Good Faith Purchaser. Subject to an entity’s ability to

challenge the finding at any final sale hearing, the Prevailing Bidder for the

Westbrook Apartments shall obtain the protections of § 363(m) of the Bankruptcy

Code and thus be deemed to have acquired the Westbrook Apartments in good faith.

             7.     Closing. The closing on the sale of the Westbrook Apartments

shall occur as promptly as possible after the entry of the final sale order. The

proceeds from the sale shall be paid to Midland Bank at the closing.

                                       BACKGROUND.

      On February 27, 2020, the Debtor filed a petition for relief under chapter 11

of title 11 of the United States Code (the “Bankruptcy Code”). The Debtor is

operating its business as debtor-in-possession under §§ 1107 and 1108 of the

Bankruptcy Code. The Debtor’s primary asset is a multi-family residential complex

on 12.77 acres of land in Springfield, Illinois with a common address of 1833 Seven

Pines Road Springfield, IL 62704. There are 220 units in 12 multi-family buildings,

eight two-story buildings with garden-level apartments, three two-story buildings


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without garden-level apartments, and a single-story building. The units are 1-

bedroom/1-bathroom and 2-bedroom/1.5-bathroom, and generally range from $560

to $700 in rent. There is also a one-story building in the center of the complex used

as a rental office and clubhouse. The complex has additional amenities, including an

outdoor pool, tennis courts, and a small playground area.

      On November 25, 2020, the Court entered an Order authorizing the Debtor to

enter into a purchase agreement to sell the Westbrook Apartments for $12,500,000

to NHNY. The purchase agreement provided that the buyer would have 45

business days (or 9 calendar weeks) to conduct due diligence. Subject to satisfactory

due diligence, the buyer had another 90 business days (or 18 weeks) to obtain

financing to consummate the sale. If, after almost 7 months, the buyer elected not

to purchase the Westbrook Apartments on the terms set forth in the purchase

agreement, its liability for terminating the transaction was limited to $100,000.

After that time, the sale process would have to start anew.

      Since the entry of the order on November 27, 2020, the Debtor has hesitated

to execute the purchase agreement and deliver it to the buyer because (a) the

Debtor has conducted extensive discussions with several entities wishing to

refinance the debt the Debtor owes to its creditors, including Midland Bank and (b)

the Debtor is concerned that the sale under the purchase agreement may not close

in a timely fashion, or close at all, because of the contingencies and the length of

time allotted.



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          Ostensibly due to the delay in signing the purchase agreement and a lack of

confidence in the Debtor’s ability to refinance its debt, Midland Bank wishes to

proceed with a ruling on the stay relief motion it filed in May of 2020. 1 The parties

had asked the Court to reserve ruling on the stay relief motion while the Debtor

pursued the sale of the Westbrook Apartments pursuant to the purchase

agreement.

          Notwithstanding the foregoing, Midland Bank has consented to the

implementation of a process to sell the Westbrook Apartments through auction on

the terms set forth herein. The auction process is described below.

                                         LEGAL ANALYSIS.

I.        The Sale Procedures Order and the Final Sale Order should be
          entered because the Debtor has a sound business purpose for selling
          the Westbrook Apartments.

     A.         The Motion seeks approval for a two-stage sale process.
          This Motion seeks to implement a two-step process for selling the Westbrook

Apartments. The first step consists of the entry of the Sales Procedure Order that

sets forth the process for marketing the Westbrook Apartments, the process for

soliciting bids and the process for conducting an auction. The specific processes are

set forth in the Statement of Bid and Sale Procedures for Westbrook Apartments

appended as Exhibit 1.




       1 The Court conducted a 3-day trial on the motion, during which it heard
testimony and received other evidence. The parties also submitted extensive post-
trial Findings of Fact and Conclusions of Law.
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         The second step of the sale process involves the consummation of the sale

pursuant to a final sale order. The Debtor contemplates that the final sale order

will contain terms and protections required by a buyer of the Westbrook

Apartments, but that such terms and conditions are likely to include the protections

afforded by § 363(f) and 363(m) of the Bankruptcy Code. The prior provision

authorizes the sale of real estate under § 363(b) free and clear of interests and he

latter provision grants the buyer the protections accorded a good faith buyer.

    B.         The Debtor has articulated a sound business reason
               authorizing the sale of the Westbrook Apartments.
         A debtor-in-possession, “after notice and a hearing, may use, sell, or lease,

other than in the ordinary course of business, property of the estate.” 11 U.S.C.

§ 363(b). A debtor’s sale of its assets should be authorized pursuant to § 363(b)(1) of

the Bankruptcy Code if a sound business purpose exists for doing so. See, e.g., In re

Schipper, 933 F. 2d 513, 515 (7th Cir. 1991); Stephens Indus., Inc. v. McClung, 789

F.2d 386, 390 (6th Cir. 1986); In re Lionel Corp., 722 F.2d 1063, 1070 (2d Cir. 1983).

         Once a debtor articulates a valid business justification for the sale of its

assets, there “is a presumption that in making a business decision the directors of a

corporation acted on an informed basis, in good faith and in the honest belief that

the action was in the best interests of the company.” In re S.N.A. Nut Co., 186 B.R.

98 (Bankr. N.D. Ill. 1995); see also In re Integrated Resources, Inc., 147 B.R. 650,

656 (S.D.N.Y. 1992); Priddy v. Edelman, 679 F. Supp. 1425, 1434 (E.D. Mich. 1988),

aff’d 883 F.2d 438 (6th Cir. 1989) (“the ‘business judgment rule’ creates a


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presumption that directors have acted in accordance with their fiduciary obligations

on an informed basis, in good faith and in the honest belief that the action was in

the best interests of the company”); In re Johns-Manville Corp., 60 B.R. 612, 615-16

(Bankr. S.D.N.Y. 1986) (“a presumption of reasonableness attaches to a Debtor’s

management decisions”).

      Courts consider the several factors to determine whether a proposed sale is

an exercise of a debtor’s sound business judgment: (a) whether a sound business

reason exists for the proposed sale; (b) whether fair and reasonable consideration is

provided; (c) whether the sale has been proposed and negotiated in good faith; and

(d) whether adequate and reasonable notice is provided. In re Eng’g Prods. Co., 121

B.R. 246, 247–49 (Bankr. E.D. Wis. 1990).

      The Debtor’s proposed sale of the Westbrook Apartments satisfies each of the

Engineering Products factors. First, the Debtor has a sound business reason to sell

the Westbrook Apartments: to repay its creditors. Second, fair and reasonable

consideration will be paid. An auction process provides a reasonable indicator of

market value. It is designed and crafted to allow willing buyers to submit their

assessment of the value of the subject property. Third, the sale will have been

proposed and negotiated in good faith and to the extent any entity believes

otherwise, they will be able to challenge the good faith determination. Last,

adequate notice of the sale will be provided. The Debtor will provide substantially

more than the 21 days’ notice of the auction to all creditors and parties in interest.



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    C.         The sale should be free and clear of interests.
         A debtor-in-possession may sell estate assets free and clear of any interest in

the asset only if:


                   (1) applicable non-bankruptcy law permits sale of such
             property free and clear of such interest;

                     (2) such entity consents;

                    (3) such interest is a lien and the price at which such
             property is to be sold is greater than the aggregate value of all
             liens on such property;

                     (4) such interest is in bona fide dispute; or

                   (5) such entity could be compelled, in a legal or equitable
             proceeding, to accept a money satisfaction of such interest.
11 U.S.C. § 363(f).

         Under this provision, the Debtor may sell the Westbrook Apartments free

and clear of all liens, claims, interests, and encumbrances, except for any liabilities

specifically assumed. To the best of the Debtor’s knowledge, information, and belief,

no entity claims an interest in the Westbrook Apartments other than Midland Bank

and the Sangamon County Water Reclamation District. Midland’s interest in the

Real Westbrook Apartments is a lien, and the value of that lien is approximately

$8.5 million. The District asserts a claim for sewer utility charges of $34,505.07,

purportedly secured by liens recorded on March 16, 2020, after the Debtor filed for

bankruptcy.

         Should the sale proceeds be less than the amount owed to Midland Bank, it

will have the option of credit bidding its debt, in which case it will then have

consented to the sale. Additionally, Sangamon County’s lien upon the Westbrook
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Apartments was recorded post-petition and is thus not a valid encumbrance upon

the Westbrook Apartments.

         The sale will therefore comply with § 363(f), and the Court should approve

the sale free and clear of all interests, with any interests attaching to the sale

proceeds.

    D.         The purchaser will be entitled to a good-faith finding under 11
               U.S.C. § 363(m).
         The reversal or modification on appeal of an authorization under § 363(b) of a

sale of property does not affect the validity of the sale to an entity that purchased

the property in good faith, unless the authorization and sale were stayed pending

appeal. 11 U.S.C. § 363(m). Although the Bankruptcy Code does not define a “good

faith” purchaser, courts have found that “the phrase encompasses one who

purchases in ‘good faith’ and for ‘value’.” In re Abbotts Dairies, 788 F.2d 143, 147 (3d

Cir. 1986). To constitute lack of good faith, a party’s conduct must usually amount

to “fraud, collusion between the purchaser and other bidders or the trustee or an

attempt to take grossly unfair advantage of other bidders.” Id. (citing In re Rock

Indus. Mach. Corp., 572 F.2d 1195, 1198 (7th Cir. 1978)). See also In re Bedford

Springs Hotel, Inc., 99 B.R. 302, 305 (Bankr. W.D. Pa. 1989); In re Perona Bros.,

Inc., 186 B.R. 833, 839 (D.N.J. 1995). Due to the absence of a bright line test for

good faith, the determination is based on the facts of each case, concentrating on the

“integrity of [an actor’s] conduct during the sale proceedings.” In re Pisces Leasing

Corp., 66 B.R. 671, 673 (E.D.N.Y. 1986) (quoting Rock Indus., 572 F.2d at 1198).


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      In this case, so long as the sale is accomplished in accordance with the Sales

Procedure Order, the Debtor believes the ultimate purchaser will have acted in good

faith with respect to the proposed sale and thus be entitled to a good-faith finding

under § 363(m).

      Wherefore, the Debtor respectfully requests that the Court enter the Sale

Procedures Order and thus authorize the Debtor to commence the process of selling

the Westbrook Apartments and, subject to the conditions set forth herein and in the

Sale Procedures Order, enter a final sale order authorizing the Debtor to sell the

Westbrook Apartments free and clear of interests and grant such further relief as is

appropriate in the circumstances.


Dated: January 26, 2021                          Respectfully submitted,

                                                 Northwest Capital Holdings LLC
                                                 By: /s/ William J. Factor
                                                 One of Its Attorneys
William J. Factor (6205675)
Jeffrey K. Paulsen (6300528)
FACTORLAW
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Fax: (847) 574-8233
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               Exhibit 1-
            Proposed Order
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                      UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


  In re:                                         Chapter 11

  Northwest Capital Holdings LLC,                Bankruptcy No. 20-05334

  Debtor.                                        Honorable Jack B. Schmetterer

                      ORDER APPROVING PROCEDURES
                 FOR THE SALE OF WESTBROOK APARTMENTS

      Upon consideration of the motion (the “Motion”) of Northwest Capital

Holdings LLC., as debtor and debtor in possession (the “Debtor”), pursuant to

sections 105(a) and 363 of title 11 of the United States Code (the “Bankruptcy

Code”) as supplemented by Rules 2002, 6004, 6006, 9007, 9008, and 9014 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) for entry of this

order (a) Setting Bidding and Marketing Procedures for Sale of Westbrook

Apartments and (b) Authority to Sell Westbrook Apartments Free and Clear of

Liens, Claims and Encumbrances (this “Sale Procedures Order”); and upon the

record of the hearing on the Motion and the full record of this Case it is FOUND

AND DETERMINED THAT:1

            1.     This Court has jurisdiction over the Motion and the transactions

contemplated therein pursuant to 28 U.S.C. §§ 157 and 1334, and this matter is a




1 Findings of fact shall be construed as conclusions of law and conclusions of law
shall be construed as findings of fact when applicable. See Bankruptcy Rule 7052.




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core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (N) and (O). Venue in this

district is proper under 28 U.S.C. §§ 1408 and 1409.

             2.     Good and sufficient notice of the Motion and the relief sought

therein has been given, and no other or further notice is required. A reasonable

opportunity to object or be heard regarding the relief provided herein has been

afforded to parties-in-interest.

             3.     The Debtor has articulated good and sufficient business reasons

for this Court to approve the Approved Bidding Procedures appended hereto,

including the scheduling of an offer deadline, auction and sale hearing for the sale

of the Westbrook Apartments.

             4.     The Sale Procedures are reasonably designed to maximize the

value to be achieved for the Westbrook Apartments.

             5.     The entry of this Sale Procedures Order is in the best interests

of the Estate, the creditors, and other parties-in-interest.

         NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND
DECREED THAT:

             1.     The Motion is granted as set forth herein.

             2.     The procedures for the sale of the Westbrook Apartments, in the

form attached hereto as Schedule 1 (the “Approved Bidding Procedures”), are

incorporated herein and approved, and shall apply with respect to the process for

selling the Westbrook Apartments. The Debtor is authorized to take all actions

necessary or appropriate to implement the Approved Bidding Procedures.

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              3.   The Debtor may use up to $10,000 of cash collateral in

furtherance of the marketing and sale of the Westbrook Property. The Debtor also

may seek to retain a real estate broker and/or hire an auction platform (e.g., Ten-X)

upon seven (7) days’ notice, although any orders related thereto shall be subject to

further consideration by the Court and interested parties, including Midland Bank.

              4.   As further described in the Approved Bidding Procedures, the

deadline for submitting bids for the Westbrook Apartments is April 7, 2021 at 5:00

p.m. (Central Prevailing Time) (the “Bid Deadline”), subject to adjustment with

the consent of the Debtor and Midland Bank. No bid shall be deemed to be a

Qualified Bid (as defined in the Sale Procedures) or otherwise considered for any

purposes unless such bid meets the requirements set forth in the Approved Bidding

Procedures.

              5.   The Debtor may sell the Westbrook Apartments by conducting

an auction in accordance with the Approved Bidding Procedures. If more than one

Qualified Bid is timely received by the Debtor in accordance with the Approved

Bidding Procedures, the auction (the “Auction”) shall take place on April 9, 2021 at

11:00 am (Central Prevailing Time) via Zoom or other media, subject to adjustment

with the consent of the Debtor and Midland Bank. The Debtor shall circulate

further instructions on the Zoom link or the alternative media to Qualified Bidders.

If the Debtor does not receive by the Bid Deadline any Qualified Bid other than a

credit bid by Midland Bank, which, without any further action, shall be deemed a

Qualified Bid submitted by a Qualified Bidder, then the Auction will not occur and

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Midland Bank will be deemed the Prevailing Bidder. Midland’s claim shall not be

deemed satisfied and extinguished to the extent the amount owed to Midland Bank

exceeds the Midland Bid.

             6.    Debtor must proceed with the Auction and the sale process in

accordance with these procedures and to request entry of the Sale Order, subject to

Midland Bank’s consent.

             7.    Any entity submitting a bid at any time shall be representing

that it has not engaged in any collusion with respect to the Approved Bidding

Procedures, the Westbrook Apartments, or the Auction.

             8.    The Sale Hearing shall be held before this Court on April 13,

2021 at 11:00 am (Central Prevailing Time), or as soon thereafter as counsel and

interested parties may be heard and subject to adjournment upon consent of the

Debtor and Midland Bank. The Sale Hearing will be presented and heard

telephonically using AT&T Teleconference. No personal appearance in court is

necessary or permitted. To appear and be heard telephonically at the Sale Hearing,

a party must call in to the hearing using the following information Toll Free

Number: 1-877-336-1839; Access Code: 3900709.

             9.    Objections to the sale of the Westbrook Apartments must: (a) be

in writing; (b) comply with the Bankruptcy Rules and the Local Rules; (c) be filed

with the clerk of the Bankruptcy Court for the Northern District of Illinois, Eastern

Division, 219 S. Dearborn St., Room 713, Chicago, Illinois 60604, on or before 5:00


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p.m. (Central Prevailing Time) on April 12, 2021, or such later date and time as the

Debtor may agree.

             10.    The Sale Hearing may be adjourned, from time to time, without

further notice to creditors or other parties in interest other than by announcement

of said adjournment before this Court or on this Court’s calendar on the date

scheduled for said hearing.

             11.    The stays provided for in Bankruptcy Rules 6004(h) and 6006(d)

are waived and this Order shall be effective immediately upon its entry.

             12.    This Court shall retain jurisdiction over any matters related to

or arising from the implementation of this Order.

Dated:

                                       _________________________________
                                       United States Bankruptcy Judge




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Schedule 1: Approved Bidding Procedures

                      UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


     In re:                                       Chapter 11

     Northwest Capital Holdings LLC,              Bankruptcy No. 20-05334

     Debtor.
                                                  Honorable Jack B. Schmetterer

                           BID AND SALE PROCEDURES
                         FOR WESTBROOK APARTMENTS

     By motion dated January 26, 2021 (the “Motion”) Northwest Capital Holdings
LLC., as debtor and debtor in possession (the “Debtor”) requested approval of,
among other things, the procedures through which it will determine the highest or
otherwise best price for the sale (collectively, the “Sale”) of the Westbrook
Apartments.

     On February 2, 2021, the United States Bankruptcy Court for the Northern
District of Illinois, Eastern Division (the “Bankruptcy Court”) entered an order (the
“Sale Procedures Order”), which, among other things, authorizes the Debtor to
determine the highest or otherwise best bid for the Westbrook Apartments through
the process and procedures set forth in these Approved Bidding Procedures. The
Debtor reserves the right to modify the Approved Bidding Procedures, provided that
any such modification shall not be inconsistent with the terms of the Sale
Procedures Order and, where necessary, Midland Bank consents.

    The following “Bidding Procedures” shall guide the sale of the Westbrook
Apartments.1

I.       Property to be Sold

     The property to be sold consists of the 220-unit apartment complex located at
1833 Seven Pines Road, Springfield, Illinois, and all property used or useful in the
operation of the Westbrook Apartments.




1Capitalized terms not otherwise defined have the meaning set forth in the Motion
or the Sale Procedures Order.
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II.        Method for submitting a bid and procedures for obtaining additional
           information and conducting due diligence.

      A.     Confidentiality Agreement
     Bidders for the Westbrook Apartments (the “Bidders” ) shall be required to
complete and execute a confidentiality agreement in form and substance acceptable
to the Debtor (the “Confidentiality Agreement” ). Any Bidder that has executed a
Confidentiality Agreement acceptable to the Debtor prior to circulation of these
Approved Bidding Procedures may be required to execute a new Confidentiality
Agreement.

      B.     Due Diligence
      Upon execution of a Confidentiality Agreement, any qualified party that
wishes to conduct due diligence on the Westbrook Apartments for purposes of
submitting a bid (a “Bidder”) will be granted access to information that has been or
will be provided to Bidders subject to these Approved Bidding Procedures for the
purpose of conducting due diligence prior to the Bid Deadline (as defined below),
except that the Debtor shall not be required to accept a Confidentiality Agreement
from an entity, or let such entity conduct due diligence, if the Debtor reasonably
believes an entity is seeking due diligence for reasons other than to submit a
Qualified Bid.

     The Debtor will make the Westbrook Apartments available for inspection at
reasonable times and hours by any potential bidders who satisfy the requirements
set by the Debtor.

       By submitting a bid, each Bidder shall be deemed to acknowledge and
represent that: (a) it has had the opportunity to conduct its due diligence on the
Debtor and the Westbrook Apartments prior to making its bid; (b) other than the
representations, warranties and covenants in the Form APA, it has relied solely
upon its own independent review, investigation, and/or inspection of any documents
and information as to the Debtor and the Westbrook Apartments in making its bid;
(c) it has completed all due diligence it deems reasonable and necessary under the
circumstances; and (d) it waives the right to conduct further due diligence from and
after the Bid Deadline. For clarity, the deadline for conducting due diligence shall
be the Bid Deadline.

      C.     Bid Deadline and Criteria for Consideration to be Deemed a
             Qualified Bid
     Only those bids that are in material compliance with these Approved Bidding
Procedures and any other Approved Bidding Procedures the Debtor implements in
consultation with any real estate broker and Midland Bank (each a “Qualified


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Bid”, and each Bidder submitting a Qualified Bid, a “Qualified Bidder”) will be
eligible for consideration to serve either as the Stalking Horse Bid (as defined
below) or as a bid at the Auction. To be considered a Qualified Bid, a bid must
comply with all of the following provisions of this section:

              1.     Delivery of Bids. A bid must be delivered, in writing, via e-
mail, to William J. Factor, FactorLaw, wfactor@wfactorlaw.com, or in such further
manner implemented and announced by the Debtor, in consultation with a real
estate broker and Midland Bank, such that it is received no later than 5:00 pm
(Prevailing Central Time) on April 7, 2021 (the “Bid Deadline” ). Bids received
after the Bid Deadline may be rejected or considered to be Qualified Bids in the
reasonable discretion of the Debtor. As soon as practicable and no later than April
8, 2021, the Debtor shall (i) transmit a copy of each bid to counsel for Midland Bank
and (ii) confirm receipt of such bid to the applicable Bidder. Any Bidder submitting
a bid shall be solely responsible for meeting the Bid Deadline and verifying that its
Bid was actually and timely received.
     The bid must include a participation deposit equal to ten percent (10%) of the
purchase price set forth in the bid, in immediately available U.S. funds (each, a
“Deposit” ). Prior to the Bid Deadline, the Deposit is to be tendered via wire
transfer either to the IOLTA Account of counsel for the Debtor or to an account at
another secure location (wire instructions will be circulated separately).

      The Deposit shall not bear interest and shall be conclusively deemed subject to
the exclusive jurisdiction of the Bankruptcy Court upon receipt. Such Deposit shall
be forfeited by a Bidder who submits the Prevailing Bid (including a Back-Up
Bidder that is required to consummate the transaction contemplated hereunder
with the Debtor following a Failure to Close (as defined below) by a Bidder
submitting the Prevailing Bid) but fails to close in breach of the applicable APA.

      The bid must be accompanied with information about the Bidder’ s financial
qualifications and ability to consummate its bid, including such Bidder’ s current
financial statements (audited if they exist) or other similar financial information
acceptable to the Debtor (“Bidder’ s Financial Qualifications” ). The Debtor
shall consider a Bidder’s Financial Qualifications in determining whether a Bidder
is a Qualified Bidder and whether they have submitted a Qualified Bid. Each Bid
must also include committed financing, documented to the Debtor’s reasonable
satisfaction, that demonstrates the Bidder has sufficient liquid assets, or has
received sufficient debt and/or equity funding commitments, to satisfy the Bidder’s
obligations under its bid, including without limitation, the identity and the contact
information of the specific person(s) or entity(s) responsible for such committed
financing whom the Debtors should contact regarding such committed financing.
Such funding commitments shall not be subject to any internal approvals,


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syndication requirements, diligence, or credit committee approvals, and shall have
covenants and conditions reasonably acceptable to the Debtor in its business
judgment.

             2.    Contents of a Bid. In addition to the foregoing, the bid must
(unless otherwise determined by the Debtor) also:
            Provide for a purchase price;
            Remain irrevocable until the approval of a Prevailing Bid, and, if
             applicable, a Back-Up Bid, at the Sale Hearing (as each of these terms
             is defined below);
            Include: (i) an executed Asset Purchase Agreement (“APA” )
             substantially similar to the Form APA the Debtor will circulate and (ii)
             a redlined version of the APA marked to show changes to the Form
             APA;
            If approved at the Sale Hearing as either the Prevailing Bid or the
             Back- Up Bid, remain irrevocable until the earlier of (A) the Prevailing
             Bid Closing (as defined below); (B) thirty-five (35) business days
             following the entry of the Sale Order (as defined below); or (C) in the
             case of the Back-Up Bid, receipt of the Declination Notice (as defined
             below);
            Clearly state that all consideration to be paid shall be cash and cash
             equivalents, and if applicable, any assumed liabilities;
            Not contain any financing contingency, regulatory contingency, release
             of liability contingency, indemnification contingency, or be subject to
             further due diligence review, board approval, or the receipt of any non-
             governmental consents;
            Not request or entitle the Bidder to any termination or break-up fee,
             expense reimbursement, or similar type of payment, with the sole
             exception of a Break-Up Fee (as defined below) to which the Bidder
             will be entitled under these Approved Bidding Procedures if such
             Bidder is designated as the Stalking Horse (as defined below).
            Disclose (i) the identity of the Bidder and each entity participating in
             connection with such bid, and the complete terms of such participation,
             and (ii) any other agreements, term sheets or other written or oral
             understandings between the Bidder and its affiliates, on one hand, and
             any current or former insider (as defined in 11 U.S.C. § 101(31)) of the
             Debtor, on the other hand (the “Insider Disclosure” ).
    D.   Stalking Horse
     The Debtor may (but is not required to) designate one Qualified Bid received


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on or before 5:00 p.m. (Central time) on March 31, 2021 (the “Stalking Horse
Designation Deadline” ) to serve as the stalking horse bid in connection with the
Auction (the “Stalking Horse Bid”).

      If a Stalking Horse Bid has been designated, then, within one (1) business day
after the Stalking Horse Designation Deadline, the Debtor shall (a) inform the
Bidder submitting the Stalking Horse Bid (the “ Stalking Horse” ) that it has been
so designated, (b) inform all other Qualified Bidders who have then submitted bids
that the Stalking Horse Bid has been designated, and (c) file on the docket of the
Bankruptcy Case a notice identifying the identity of the Stalking Horse and
attaching a copy of the APA submitted in conjunction with the Stalking Horse Bid
(the “Stalking Horse APA” ).

     To induce Qualified Bidders to submit bids prior to the Stalking Horse
Designation Deadline and to serve as the Stalking Horse, the Debtor may provide to
the Stalking Horse: (a) bid protection such that any bid seeking to compete with the
Stalking Horse Bid must exceed the Stalking Horse Bid by an amount of One
Hundred Thousand Dollars ($100,000.00) (the “Bid Protection” ); and (b) a
termination fee and expense reimbursement in the amount of $100,000 (the
“Break-Up Fee” ). The sum of the Bid Protection and the Break-Up Fee shall be
deemed the “Initial Overbid Amount”. In the event a Stalking Horse is
designated, any Topping Bid (as defined below) at the Auction must be in an
amount equal to or greater than the Initial Overbid Amount .

      The Break-Up Fee shall only be payable if (a) a higher or otherwise better offer
from a Qualified Bidder other than the Stalking Horse actually closes; (b) the
Stalking Horse was not in default under any of its obligations under the Stalking
Horse APA, and (c) the Stalking Horse was otherwise ready, willing, and able to
close on the Stalking Horse APA, or the Stalking Horse APA as modified at the
Auction. The Break-Up Fee shall be paid only out of the proceeds of sale of any
higher or otherwise better bids and shall not constitute an administrative-expense
claim against the Debtor’ s estate if for any reason the closing does not occur.

    E.    Auction and Selection of Prevailing Bid and Back-up Bid
    If the Debtor does not receive more than one Qualified Bid prior to the Bid
Deadline, the lone Qualified Bid shall be the Prevailing Bid.

     If the Debtor has received more than one Qualified Bid on or before the Bid
Deadline, an auction sale of the Westbrook Apartments in accordance with these
Approved Bidding Procedures (the “Auction” ) will be held at 11:00 am (Central
time) on April 9, 2021 via Zoom or other online media. If the Debtor uses another
online portal (e.g., Ten-X), the Debtor will seek approval for such other portal from



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the Bankruptcy Court. The Auction may occur at a later date and time by
agreement of the Debtor and Midland Bank, in which case the Debtor shall advise
all Qualified Bidders of the new date and time.

     For a Qualified Bidder to participate at the Auction, the Qualified Bidder must
appear at the Auction or through a duly authorized representative, unless
alternative arrangements are made in advance with the Debtor. If multiple
Qualified Bids are received, each Bidder shall have the right to continue to improve
its Qualified Bid at the Auction, provided however, that the Debtor shall not be
obligated to consider any increases to a Qualified Bid which is inconsistent with the
Bidder’ s Financial Qualifications and the Bidder’ s ability to consummate the
transaction contemplated hereby.

     If a Stalking Horse Bid has been designated, the Stalking Horse Bid will be
the opening bid at the Auction, unless another Qualified Bid has been submitted
which offers aggregate consideration greater than or equal to the Initial Overbid
Amount (a “Topping Bid”), in which case the Topping Bid will be the opening bid
at the Auction. If no Stalking Horse Bid has been designated, the opening bid at the
Auction will be the Qualified Bid that the Debtor determines, in its reasonable
discretion, to be the highest and best Qualified Bid for the Westbrook Apartments.
The Debtor shall notify each Qualified Bidder submitting a Qualified Bid of the
terms and conditions of the opening bid as soon as practicable prior to the
commencement of the Auction.

     Any entity submitting a bid at any time shall, as a consequence of submitting
such bid, be representing that it has not engaged in any collusion with respect to
the bidding procedures, the sale, or the Auction.

      The prevailing bid at the Auction shall be the bid determined by the Debtor, in
consultation with Midland Bank, to be the highest and best offer for the Westbrook
Apartments (the “Prevailing Bid” ). Additionally, the Debtor may (but is not
required to) determine the second-highest-and-best offer for the Westbrook
Apartments (the “Back-Up Bid” ), which may, at the Debtor’ s option, be accepted
in lieu of the Prevailing Bid if the Prevailing Bid does not close.

     If the Debtor designates a Stalking Horse and no other Qualified Bid is
received by the Bid Deadline, then the Debtor reserves the right to cancel the
Auction, and the Debtor shall, at the Sale Hearing, request: (x) that the Stalking
Horse Bid be deemed the highest and best offer for the Westbrook Apartments, and
be deemed the Prevailing Bid; (y) authority to consummate the Stalking Horse APA;
and (z) entry of the Sale Order.

    F.   Sale Hearing


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       The Debtor will present the results of the Auction to the Bankruptcy Court at
the Sale Hearing (as defined below), at which time certain findings will be sought
from the Bankruptcy Court regarding the Auction, including, among other things,
that (i) the Auction was conducted and the Prevailing Bid was selected in
accordance with the Sale Procedures Order and the Approved Bidding Procedures,
(ii) the Auction was fair in substance and procedure, and (iii) consummation of the
Sale contemplated by the Prevailing Bid will provide the highest or otherwise best
value for the Westbrook Apartments and is in the best interests of the Estate and
the creditors.

       Please be advised that the hearing to approve the Prevailing Bid and the Back-
up Bid will be held before the Honorable Jack B. Schmetterer, United States
Bankruptcy Judge, in the United States Bankruptcy Court for the Northern District
of Illinois, Eastern Division, Dirksen Federal Building, 219 S. Dearborn, Chicago,
Illinois 60604 (the “Sale Hearing” ) at 11:00 am. (Central time) on April 13, 2021,
or such later time and place as the Debtor shall notify all Qualified Bidders. The
Sale Hearing shall be conducted telephonically using AT&T Teleconference. No
personal appearance in court is necessary or permitted. To appear and be heard
telephonically on the Sale Hearing, you must call in to the hearing using the
following information—Toll Free Number: 1-877-336-1839; Access Code: 3900709.

     At the Sale Hearing, the Debtor shall request entry of one or more orders
approving the consummation of the sale contemplated hereby, including the Final
Sale Order.

    G.   Return of Deposits
      Except as otherwise set forth herein, as soon as practicable (but in no event
later than five (5) business days) after the conclusion of the Sale Hearing, the
Debtor shall return to each unsuccessful Qualified Bidder (other than the
Prevailing Bidder and the Back-Up Bidder, as each of those terms is defined below)
the Deposit, submitted by such a Qualified Bidder.

     Upon the completion of the Prevailing Bid Closing or the submission of a
Declination Notice to the Back-Up Bidder, the Debtor shall return to the Back-Up
Bidder (as defined below) the Deposit submitted by the Back-Up Bidder.

    H.   Closing
     The sale closing shall occur as promptly as possible after entry of the Final
Sale Order (the “Prevailing Bid Closing” ). At the Prevailing Bid Closing, the
Deposit of the Prevailing Bidder will be applied against the purchase price to be
paid by the Prevailing Bidder.



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     I.   Failure of Prevailing Bidder to Close
      If the Bidder submitting the Prevailing Bid (the “Prevailing Bidder” ) fails to
close in accordance with the terms of the Prevailing Bid within seven (7) days from
the entry of the Sale Order (a “Failure to Close” ), the Deposit of the Prevailing
Bidder, shall be conclusively and irrevocably forfeited to, and become property of,
the Debtor’s bankruptcy estate and, upon approval of the Bankruptcy Court, paid to
Midland Bank as promptly as possible.

      In the event of a Failure to Close, the Bidder submitting the Back-Up Bid (the
“Back-Up Bidder” ) shall be required to consummate the transactions
contemplated in the Back-Up Bid at the purchase price so offered without further
act, deed, or order of the Bankruptcy Court within fifteen (15) business days
following receipt of a notice from the Debtor of a Failure to Close, which shall be
given by Debtor within two (2) business days after the Failure to Close, unless the
Debtor provides written notice to the Back-Up Bidder of its intent not to accept the
Back-Up Bid (a “Declination Notice” ). In the event of a closing of the transaction
under the Back-Up Bid, the Deposit of the Back-Up Bidder shall be applied against
the purchase price to be paid by the Back-Up Bidder. If, in the event of a Failure to
Close, and absent a Declination Notice, the Back-Up Bidder fails to close timely and
in accordance with the terms of the Back- Up Bid, the Deposit of the Back-Up
Bidder shall be forfeited to, and become property of, the Debtor’s bankruptcy estate
and, upon approval of the Bankruptcy Court, paid to Midland Bank as promptly as
possible.

     The Back-Up Bidder shall be obligated to hold open the Back-Up Bid until the
completion of the earlier of: (A) the Prevailing Bid Closing; (B) thirty-five (35)
business days following the entry of the Final Sale Order; or (C) receipt of a
Declination Notice.

      Should both the Prevailing Bidder and the Back-Up Bidder, to the extent there
is a Back-Up Bidder that was not provided with a Declination Notice, fail to timely
close as set forth in this paragraph I, then the Midland Bid shall be deemed the
Prevailing Bid and the sale order shall be promptly revised accordingly and
submitted to the Court for entry.

    J.    Reservation of Rights and Highest and Best Bids
     Except as otherwise provided in the Sale Procedures Order, the Debtor
reserves the right, as it may reasonably determine to be in the best interests of its
estate, to: (a) determine which Bidders are Qualified Bidders; (b) determine which
bids are Qualified Bids; (c) determine which Qualified Bid is the highest or
otherwise best proposal and which is the next highest or otherwise best proposal,
and thus, determine the Prevailing Bid and the Back-Up Bid; and (d) reject any bid


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that is: (i) inadequate or insufficient; (ii) not in conformity with the requirements of
the Approved Bidding Procedures or the requirements of the Bankruptcy Code; or
(iii) contrary to the best interests of the Debtor and its estate.

      Nothing contained herein shall prejudice or impair rights under Section 363(k)
of the Bankruptcy Code.

      The Debtor further reserves all rights to modify or impose, at or prior to the
Auction, additional terms and conditions on the sale of the Westbrook Apartments,
to extend or adjourn any deadlines set forth herein, and to take any other actions
with respect to the Auction, the Sale Hearing or the sale of the Westbrook
Apartments which in its business judgment are reasonably necessary to preserve
the bankruptcy estate or maximize the value thereof and which are not
substantially inconsistent with these Bid Procedures, the Form APA, or any order of
the Bankruptcy Court.

     In determining which Qualified Bid(s) is(are) the highest and best proposal,
and which is the next highest or otherwise best proposal, in connection with both
the Auction and also the designation of a Stalking Horse Bid, the Debtor will
evaluate the Qualified Bids for each Lot or Lots. It is expressly contemplated by
these Approved Bidding Procedures that there may be a Prevailing Bid and Back-
Up Bid for an applicable individual Lot or subset of multiple Lots. The Debtor, ,
may also consider factors other than the purchase price in determining the highest
and best bid, including, but not limited to, the Bidder’ s financial wherewithal,
assumption of the Debtor’ s liabilities, and ability to close in accordance with these
Approved Bidding Procedures.

    K.    Miscellaneous
     Nothing contained in these Approved Bidding Procedures or in the Sale
Procedures Order shall create any rights in any other person or Bidder (including
without limitation rights as third- party beneficiaries or otherwise) other than the
rights expressly granted to the Prevailing Bidder or the Back-Up Bidder under the
Sale Procedures Order, the Approved Bidding Procedures, and the Auction.

     Except as provided in the Sale Procedures Order and these Approved Bidding
Procedures, the Bankruptcy Court shall retain jurisdiction to hear and determine
all matters arising from or relating to the implementation of the Sale Procedures
Order.




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